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                    EXHIBIT L
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                                     HAYDEN N. WYATT
                                       Curriculum Vitae
                                              and
                                 Support for Appointment as
                         Personal Injury Plaintiffs’ Steering Committee

A.     Personal Information:

       Name:               Hayden N. Wyatt
       Law Firm:           Bailey Cowan Heckaman PLLC (www.bchlaw.com)
       Years of Practice: 2
       List of Firm Cases Transferred to MDL:

                 Oatridge, et al. v. Future Motion, Inc., No. 5:21-cv-09906-BLF, in the United
                 States District Court for the Northern District of California.

                 Bunnell, et al. v. Future Motion, Inc., No. 5:23-cv-06623-BLF, in the United
                 States District Court for the Northern District of California.

B.     Position(s) Sought:

       Plaintiffs’ Steering Committee.

C.     MDL Experience:


          MDL Name                  Subject Matter &            “Unofficial” Roles
                                     Current Status                  Played

     MDL 2789                   Newark, N.J.-based MDL Performed PSC-delegated
     In re: Proton Pump         involving kidney-related  legal research and writing
     Inhibitor Litig.,          injuries linked to proton (see § D for more detail)
     D.N.J.                     pump inhibitor
                                (heartburn) drugs; MDL is
                                ongoing

     MDL 2885                   Pensacola, Fla.-based       Served as briefing
                                MDL involving military      attorney for bellwether trial
     In re: 3M Combat
                                veterans suffering          case that reached jury
     Arms Earplug
                                hearing damage from         verdict (see § D for more
     Prods. Liab. Litig.,
                                faulty combat arms          detail)
     N.D. Fla.                  earplugs (largest MDL in
                                history); MDL is ongoing.



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D.     Mass Tort Experience:

         Since joining BCH in October 2021, Hayden’s practice has exclusively focused on
litigation with a substantial emphasis on law and briefing in mass tort and individual
personal injury litigation. From the beginning of his legal career, Hayden has served as
a member of various law and briefing teams.

      In his first months as a lawyer, Hayden worked as a member of a law and briefing
team for a bellwether plaintiff in In re Proton Pump Inhibitor Litig. In this role, Hayden was
tasked with drafting portions of briefs in response to defendants’ motions for summary
judgment and specific and general causation Daubert motions.

        Hayden’s most significant mass tort experience involved MDL 2885, In re 3M
Combat Arms Earplug Products Liability Litigation. Hayden assisted numerous clients
proceed through a court-ordered “discovery wave” process by responding to case-specific
written discovery and taking and defending various fact and expert witness depositions.
Hayden drafted Daubert motions and responses to defendants’ Daubert motions for
“wave” clients and assisted in the drafting of motions for and response to summary
judgment. He also conducted choice-of-law meet-and-confers on behalf of the firm’s
“wave” clients. In the handful of cases where the parties were unable to agree on the
applicable state law and remand venue, he drafted significant portions of his firm’s
memorandums on choice-of-law. In addition, Hayden served as a briefing attorney for a
bellwether trial case that reached a jury verdict. In that role, he assisted in drafting
plaintiff’s response to defendants’ motion for directed verdict and various trial briefs
throughout trial.

      Prior to centralization (in both state and federal court), Hayden drafted nearly three
dozen Onewheel-related complaints and drafted written discovery requests and
responses in almost half of those cases. He also attended joint safety gear inspections.
Hayden also drafted considerable portions of his firm’s client’s initial opposition to
defendant’s motion for centralization before the JPML.

       Recently, Hayden was appointed to the Law and Briefing Subcommittee of Judicial
Council Coordination Proceeding (JCCP) No. 5305, In re Future Motion Onewheel Cases.
JCCP No. 5305 is the California state court equivalent to federal MDL No. 3087. In this
role, Hayden is expected to conduct various legal research and writing with other
members of the law and briefing subcommittee concerning common issues applicable to
all JCCP plaintiffs.




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E.     Law and Briefing Experience:

In addition to his work in mass tort litigation, Hayden has served as counsel in or as a
briefing attorney in various individual personal liability and commercial litigation cases.

BCH represented a nationally recognized designer and retailer of outdoor adventure
apparel, in successfully prosecuting claims concerning the breach of a licensing
agreement and violations of the Texas Uniform Trade Secrets Act. BCH’s law and briefing
team successfully defeated a motion to dismiss. Hayden oversaw the review and
production of hundreds of thousands of pages of responsive documents. He also
assisted in the mediation of the case, which ultimately laid the foundation for settlement.
Hayden participated in the review and drafting of the parties’ settlement agreement.

Hayden has also represented numerous clients asserting violations of the Fair Labor and
Standards Act’s minimum wage and overtime pay requirements.                    In those
representations, he had occasion to draft complaints, discovery requests and responses,
a motion for conditional certification of the collective action, and various settlement
agreements.

Hayden has also served as a briefing attorney for BCH’s asbestos litigation and personal
injury litigation departments. He has successfully briefed motions for remand, including
a case that involved an open legal question as to the applicability of the forum defendant
rule to cases where claims of fraudulent joinder were made. As a briefing attorney,
Hayden has also drafted responses to motions for summary judgment and various
discovery-related motions.

BCH also represented the victims of a boat explosion on the Lake of the Ozarks. Hayden
participated in the mediation of the case in its early stages. He successfully drafted
extensive portions of plaintiffs’ opposed motion for intra-district transfer. He also drafted
overwhelming portions of plaintiffs’ Daubert motions, responses to defendants’ Daubert
motions, plaintiffs’ motions in limine, responses to motions in limine (including the issue
of other similar instances), and plaintiffs’ written response to a motion for directed verdict.
At trial, Hayden served as a trial briefing attorney. The case reached a jury verdict.

F.     Curriculum Vitae:

                                     —EDUCATION —

University of Arkansas School of Law, Fayetteville, AR
Juris Doctor, May 2021  GPA 3.137
   ▪ Board of Advocates, Trial Competition Chair | 2020-2021
   ▪ W.J. Arnold Memorial Award Recipient (Most Promising Trial Attorney) | 2021
   ▪ Texas Young Lawyers Association Traveling Trial Team | 2020

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   ▪   American Association for Justice Student Trial Advocacy Competition Traveling
       Trial Team | 2021

University of Arkansas, GPA 3.517
Bachelor of Arts in History and Political Science, May 2018

                             — LEGAL EXPERIENCE —

    October 2021 to         Bailey Cowan Heckaman PLLC, Houston, Texas, Associate
    Present
                                 ▪     See information above.




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